Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          CASE NO. 20-82296-CIV-RUIZ/REINHART

  THERAPEUTICSMD, INC.,

          Plaintiff,

  vs.

  EVOFEM BIOSCIENCES, INC.,

        Defendant.
  _________________________________________/

                       DEFENDANT’S REQUEST FOR JUDICIAL NOTICE

          Evofem requests that the Court take judicial notice, pursuant to Federal Rule of Evidence

  201, of documents and records from the Federal Food and Drug Administration (“FDA”),

  information from the Institute for Safe Medication Practices’ (“ISMP”) website, records of the

  USPTO for the marks PHEXXI and IMVEXXY, and foreign trademark registrations for the

  PHEXXI mark.

        A. FDA Records

          Evofem has listed as exhibits reports and communications with the FDA related to the

  FDA’s review and approval of the two prescription medications at issue in this case. The records,

  among other things, demonstrate the FDA’s role in reviewing and approving all aspects of the

  medication, including the proposed names, prior to approval for its public use. The records include

  a detailed review of the PHEXXI name, called a Phonetic and Orthographic Computer Analysis

  or “POCA,” related to the FDA’s approval of the name.




                                                  1
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 2 of 8




          An appendix, including the FDA records for which Defendant seeks judicial notice is filed

  herewith. As it notes, many of the records are actually listed by Plaintiff as exhibits. (See D-Ex

  006, 009, 011, 012, 013, 014, 015, 026, 027, 093, 105, 116, 002.)

          These records, including the POCA, are publicly available on the FDA’s website. The

  Court should take judicial notice of these records because “information on government agency

  websites has often been treated as properly subject to judicial notice.” Eidson v. Medtronic, Inc.,

  981 F. Supp. 2d 868, 879 (N.D. Cal. 2013) (taking judicial notice of FDA’s approval letters for

  medical devices); Stanifer v. Corin USA Ltd., Inc., No. 6:14-cv-1192-Orl-37DAB, 2014 WL

  5823319, at *3 (M.D. Fla. Nov. 10, 2014 (“Courts in this District and elsewhere regularly take

  judicial notice of public records available on the FDA’s website because such documents satisfy

  the requirements of Rule 201.”); Dixon v. Allergan USA, Inc., 14-61091-CIV, 2015 WL 13777064,

  at *2 (S.D. Fla. Apr. 2, 2015) (taking judicial notice of the FDA’s documentation concerning pre-

  market approval of medical device and noting that the “documents are readily accessible on the

  FDA’s website, a source that cannot reasonably be questioned, and the Court will take judicial

  notice of both.”); BPI Sports, LLC v. ThermoLife Int'l LLC, 19-60505-CIV, 2020 WL 10180910,

  at *3 (S.D. Fla. Jan. 9, 2020) (taking judicial notice of both FDA records and USPTO records and

  noting that “[c]ourts have found that the contents of an administrative agency's publicly available

  files traditionally qualify for judicial notice.”).

      B. USPTO Records

          The Court should also take judicial notice of the publicly available US Patent and

  Trademark Office records. The parties’ Joint Pretrial Stipulation confirms that parties’ agreement

  that “[l]egible copies of TherapeuticsMD and Evofem’s United States trademark registrations, and

  the file prosecution histories of United States trademark applications, may be offered and received



                                                        2
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 3 of 8




  in evidence in lieu of certified copies thereof, subject to all other objections which might be made

  to the admissibility of certified copies.” (ECF No. 199.) But, Plaintiff nevertheless broadly objects

  to virtually all of the PTO records listed by Defendant as exhibits.

          Defendant’s appendix, filed herewith, lists the records for which judicial notice is sought.

  As it notes, one of the records is actually listed by Plaintiff as an exhibit. (See D-Ex 096.)

          Courts routinely take judicial notice of USPTO records. See Setai Hotel Acquisition, LLC

  v. Miami Beach Luxury Rentals, Inc., 2017 WL 3503371, at *7 (S.D. Fla. Aug. 15, 2017) (taking

  judicial notice of the file history of a trademark registration where the file is publicly available and

  cannot be reasonably disputed); BPI Sports, LLC, 2020 WL 10180910, at *3 (taking judicial notice

  of both FDA records and USPTO records and noting that “[c]ourts have found that the contents of

  an administrative agency's publicly available files traditionally qualify for judicial notice.”);

  ROOR v. Sanz Brothers, LLC, 2018 WL 1881287, *5 (S.D. Fla. March 1, 2018) (collecting cases).

      C. Foreign Trademark Registrations

          The Court should likewise take judicial notice of trademark registrations from other

  jurisdictions around the world, none of which found any likelihood of confusion with IMVEXXY.

  It is well established that the Court may take judicial notice of foreign proceedings. See, e.g., JSC

  MCC EuroChem v. Chauhan, 2018 WL 9650037, *1 (6th Cir. Sept. 14, 2018) (taking judicial

  notice of a London court order and transcript of hearing in UK). And, as stated above in section

  B, Courts may take judicial notice of trademark registrations. See Setai Hotel Acquisition, LLC,

  2017 WL 3503371, at *7 (taking judicial notice of the file history of a trademark registration).

  Courts have also taken judicial notice of foreign trademark registrations. Rousselot B.V. v. St. Paul

  Brands, Inc., 2019 WL 6825763, *2 (C.D. Cal. July 24, 2019) (taking judicial notice of a

  Vietnamese Certificate of Trademark Registration); GT Beverage Company LLC v. Coca Cola



                                                     3
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 4 of 8




  Company, 2010 WL 11595832, *2 (C.D. Cal. Aug. 2, 2010) (taking judicial notice of several

  European Trademark Registrations because they are matters of public record); Color Switch LLC

  v. Fortafy Games DMCC, 377 F. Supp. 1075, 1089 n. 6 (E.D. Cal. 2019) (taking judicial notice of

  UAE trademark registration application and noting “a court may take judicial notice of public

  records of governmental entities and authoritative sources of foreign law.”).

     D. Institute for Safe Medication Practices Records

         Finally, the Court should take judicial notice of the ISMP search records. The ISMP is a

  501(c)(3)     not-for-profit    dedicated     to       preventing   medication     errors.    See

  https://www.ismp.org/about, last visited March 16, 2022. The United States Pharmacopeia, which

  is an independent scientific nonprofit focused on developing trust in safe, quality medicines,

  maintains a collaborative partnership with the ISMP to maintain a database of reports of

  medication errors and misprescriptions. See        D-Ex 152; https://www.usp.org/health-quality-

  safety/medication-safety-labeling, last visited March 16, 2022. The Court may take judicial notice

  of the ISMP reports, as they are publicly available on a website that may be properly subject to

  notice. Tobinick v. Novella, No. 9:14-CV-80781, 2015 WL 1526196, at *2 (S.D. Fla. Apr. 2, 2015)

  (taking judicial notice of Wayback Machine website); Ruehling v. Armstrong, No. 8:12-CV-2724-

  T-35TGW, 2015 WL 12838992, at *9 n.7 (M.D. Fla. May 21, 2015) (taking judicial notice of

  information available on publicly accessible website); Termarsch v. Argent Mortg. Co., LLC., No.

  807-CV-1725-T-30TBM, 2008 WL 1776592, at *4 n.4 (M.D. Fla. Apr. 16, 2008) (taking judicial

  notice of Wells Fargo website on motion to dismiss).




                                                     4
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 5 of 8




                                          CONCLUSION

         For these reasons, Evofem requests that the Court take judicial notice, pursuant to Federal

  Rule of Evidence 201, of documents and records from the Federal Food and Drug Administration,

  records of the USPTO for the marks PHEXXI and IMVEXXY, foreign trademark registrations for

  the PHEXXI mark, and information from the Institute for Safe Medication Practices’ (“ISMP”)

  website.

                                              COFFEY BURLINGTON, P.L.

                                       By:    /s/ Kevin C. Kaplan
                                              Robert K. Burlington, Esq.
                                              Florida Bar No. 261882
                                              rkb@coffeyburlington.com
                                              mpalmero@coffeyburlington.com
                                              Kevin C. Kaplan, Esq.
                                              Florida Bar No. 933848
                                              kkaplan@coffeyburlington.com
                                              lperez@coffeyburlington.com
                                              service@coffeyburlington.com
                                              Paul J. Schwiep, Esq.
                                              Florida Bar No. 823244
                                              pschwiep@coffeyburlington.com
                                              YVB@coffeyburlington.com
                                              Dorothy C. Kafka, Esq.
                                              Florida Bar No. 1007982
                                              DKafka@coffeyburlington.com
                                              GRoque@coffeyburlington.com
                                              COFFEY BURLINGTON, P.L.
                                              2601 South Bayshore Drive, Penthouse One
                                              Miami, Florida 33133
                                              Telephone: (305) 858-2900
                                              Facsimile: (305) 858-5261
                                              And




                                                  5
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 6 of 8




                                     MINTZ LEVIN COHN FERRIS GLOVSKY
                                     AND POPEO, P.C.

                                     By:    /s/ Andrew D. Skale
                                            Andrew D. Skale, Esq.
                                            (admitted pro hac vice)
                                            adskale@mintz.com
                                            Kara M. Cormier Esq.
                                            (admitted pro hac vice)
                                            kmcormier@mintz.com
                                            3580 Carmel Mountain Road, Suite 300
                                            San Diego, CA 92130
                                            Telephone: (858) 314-1500

                                     Attorneys for Defendant Evofem Biosciences, Inc.




                                        6
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 7 of 8




                       CERTIFICATE OF SERVICE AND CONFERENCE

          I hereby certify that a true and correct copy of the foregoing was served by Notice of

  Electronic Filing generated by CM/ECF, on March 31, 2022, on all counsel or parties of record

  on the Service List below. I further certify that I conferred with counsel for Defendants, on March

  29 and 30, 2022, in a good faith effort to resolve the issues raised in the motion and was been unable

  to do so.

                                                          /s/ Kevin C. Kaplan
                                                          Kevin C. Kaplan


                                           SERVICE LIST
                             TherapeuticsMD, Inc. v. Evofem Biosciences, Inc.
                                 Case No. 20-82296-CIV-Ruiz/Reinhart

   Joseph W. Bain, Esq.                                 Andrew D. Skale, Esq.
   JBain@shutts.com                                     (admitted pro hac vice)
   Patricia A. Leonard, Esq.                            adskale@mintz.com
   Pleonard@shutts.com                                  Kara M. Cormier, Esq.
   Jodi-Ann Tillman, Esq.                               (admitted pro hac vice)
   JTillman@shutts.com                                  kmcormier@mintz.com
   SHUTTS & BOWEN LLP                                   MINTZ LEVIN COHN FERRIS GLOVSKY
   525 Okeechobee Boulevard, Suite 1100                 AND POPEO, P.C.
   West Palm Beach, Florida 33401                       3580 Carmel Mountain Road, Suite 300
   Telephone: (561) 835-8500                            San Diego, California 92130
   Facsimile: (561) 650-8530                            Telephone: (858) 314-1500
                                                        Facsimile: (858) 314-1501
   Attorneys for Plaintiff
   TherapeuticsMD, Inc.                                 Attorneys for Defendant
                                                        Evofem Biosciences, Inc.




                                                    7
Case 9:20-cv-82296-RAR Document 212 Entered on FLSD Docket 03/31/2022 Page 8 of 8




   Ehab Samuel, Esq.
   (admitted pro hac vice)
   esamuel@hdmnlaw.com
   David A. Randall, Esq.
   (admitted pro hac vice)
   dave@hdmnlaw.com
   Sepehr Daghighian, Esq.
   sd@hdmnlaw.com
   HACKLER DAGHIGHIAN MARTINO &
   NOVAK, P.C.
   10900 Wilshire Boulevard, Suite 300
   Los Angeles, California 90024
   Telephone: (310) 887-1333
   Facsimile: (310) 887-1334

   Attorneys for Plaintiff
   TherapeuticsMD, Inc.




                                         8
